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                                         UNITED STATES COURT OF APPEALS
                                              FOR THE SIXTH CIRCUIT

                                            Appearance of Counsel
Appeal No.: ___________________________________

Case Title: _____________________________________vs.______________________________________



List all clients you represent in this appeal:




         ✓ Appellant                Petitioner               Amicus Curiae              Criminal Justice Act
           Appellee                 Respondent               Intervenor                      (Appointed)

  Check if a party is represented by more than one attorney.
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If you are substituting for another counsel, include that attorney’s name here:



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